        Case 7:21-cv-06584-CS Document 144 Filed 02/28/23 Page 1 of 2

                           # 21-cv-06584-CS
_____________________________________________________________________


                                  COVER LETTER

To: Office of the New York State Attorney General; Attn: Bahiya Lawrence, Assistant
    AG, 28 Liberty Street, New York, NY 10005 (via CM/ECF);

To: Attn: Clerk of HON. Cathy Seibel, US District Judge); US Courthouse, 300
   Quarropas Street, White Plains, NY 10601 (copy for Court Records);

From: Sanjay Tripathy, 2013 Jadewood Drive, Morrisville, NC 27560;
      Email: sanjay.tripathy@gmail.com; Tele: +1-859-380-1515;

Date: Monday, February 27th, 2023

Subject: Case # 21-cv-06584-CS Plaintiff’s Initial Disclosures Compliance
pursuant to Fed.R.Civ.P.26(a)(1) - Tripathy v. McClowski, et. al

Dear Ms. Lawrence,

Per Court’s Civil Case Discovery Plan and Scheduling Order (#140) filed 2/22/2023,
Plaintiff certifies that he is complaint with his obligations towards initial disclosures
pursuant to Fed.R.Civ.P.26(a)(1), which was mailed (CM/ECF) to the US District Court
for the Southern District Court of New York.

Very truly yours,

/s/ Sanjay Tripathy
Plaintiff/Petitioner ProSe

Enclosure: Discovery Demand; Certificate of Service;

An innocent man, exonerated after 1651 days in illegal captivity, due to unconstitutional
acts, religious persecutions perpetrated by The State of New York, and State Actors
acting under the Color of Law;




_____________________________________________________________________
Sanjay Tripathy (Petitioner ProSe)                               1
        Case 7:21-cv-06584-CS Document 144 Filed 02/28/23 Page 2 of 2

                           # 21-cv-06584-CS
_____________________________________________________________________


               CERTIFICATE OF SERVICE BY MAIL(CM/ECF)

I certify that on Monday, February 27th 2023, I mailed (CM/ECF) the foregoing
Plaintiff’s Initial Disclosures compliance to the Defense Counsel and Clerk of the US
District Court (SDNY) via CM/ECF (ProSe Unit).

Office of the New York State Attorney General;
Attn: Bahiya Lawrence, Assistant AG,
28 Liberty Street,
New York, NY 10005

/s/ Sanjay Tripathy
Plaintiff/Petitioner ProSe
2013 Jadewood Drive,
Morrisville, NC 27560
Tele: +1-859-380-1515
EMail: sanjay.tripathy@gmail.com


An innocent man, exonerated after 1651 days in illegal captivity, due to unconstitutional
acts, religious persecutions perpetrated by The State of New York, and State Actors
acting under the Color of Law;




_____________________________________________________________________
Sanjay Tripathy (Petitioner ProSe)                               2
